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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

________________________________________________
                                                )
JOSE PINEDA, JOSE MONTENEGRO, MARCO             )
LOPEZ, and JOSE HERNANDEZ on behalf of          )
themselves and all others similarly situated,   )
                                                )                 C.A. No. 1:16-cv-12217
              Plaintiffs                        )
                                                )
              v.                                )
                                                )
SKINNER SERVICES, INC. d/b/a SKINNER            )
DEMOLITION, THOMAS SKINNER, DAVID               )
SKINNER, ELBER DINIZ and SANDRO SANTOS          )
                                                )
              Defendants.                       )
________________________________________________)

                            DEFENDANTS’ NOTICE OF APPEAL

       Notice is hereby given, pursuant to Rule 4 of the Federal Rules of Appellate Procedure,

that Defendants Skinner Services, Inc. and Thomas Skinner appeal to the United States Court of

Appeals for the First Circuit from the United States District Court for the District of

Massachusetts’ (Saylor, J.) November 14, 2018 ruling issued on the record on Plaintiffs’ Motion

for Civil Contempt [Document 215] and December 10, 2018 Order Concerning Sanctions for

Defendants’ Contempt of Court (Saylor, J.) [Documents 233 and 233-1].
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                                         Respectfully submitted,

                                         SKINNER SERVICES, INC., and
                                         THOMAS SKINNER,
                                         By their attorneys,

                                         /s/ Michael B. Cole
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Dated: December 17, 2018




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed electronically and served

by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by email to

all parties by operation of the court’s electronic filing system or by mail to anyone not able to

accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

filing through the court’s CM/ECF System.



                                                      /s/ Michael B. Cole
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